Case 20-00536-dd             Doc 31       Filed 05/15/20 Entered 05/15/20 13:36:33                      Desc Main
                                          Document      Page 1 of 1



                                    UNITED STATES BANKRUPTCY COURT

                                        DISTRICT OF SOUTH CAROLINA

 IN RE:
 Jamie Maurice Hudson                                         CASE NO: 20-00536-dd

                                     DEBTOR(S)                CHAPTER 13




                                   NOTICE OF CONFIRMATION HEARING

         The debtor(s) in the above captioned case filed a chapter 13 plan on date_05/15/2020_. The plan is
attached, or will be separately mailed to you by the debtor(s).

        Your rights may be affected by the plan. You should read the plan carefully and discuss it with your
attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you may wish to consult
one.)

          Any objection to confirmation of the chapter 13 plan must be filed with the Court at 1100 Laurel Street,
Columbia, SC 29201-2423 and served on the chapter 13 trustee, the debtor(s), and any attorney for the debtor(s) at
least seven days prior to the confirmation hearing. Objections to confirmation may be overruled if the objecting
party fails to appear and prosecute the objection. If no objection is timely filed, the plan may be confirmed on
recommendation of the trustee.

       The confirmation hearing will be held on June 15, 2020 at 10:30 a.m., Location: 1100 Laurel St,
Columbia, SC 29201.

         If you or your attorney do not take these steps, the court may decide that you do not oppose the relief
sought in the plan and may enter an order confirming the plan.

Date: May 15, 2020                                    /s/ Jason T. Moss
                                                      Signature of Attorney
                                                      Moss & Associates, Attorneys PA
                                                      816 Elmwood Ave.
                                                      Columbia, SC 29201
                                                      (803) 933-0202
                                                      District Court Id No. 7240
